 Case 4:00-cr-40102-JPG Document 117 Filed 11/15/05 Page 1 of 1 Page ID #73
Prob 35
(12198)

Report and Order Terminating
                                                                                                     Supervised Release
                                                                                       Prior to Original Expiration Date




          v.                                                                         Crim. No. 0754 4:00CR40102 003

UVON TABORN



          On June 6,2001, the above named defendant was sentenced to 78 months of imprisonment, followed by a five

year term of supervised release. On September 15, 2003 the offender was released from confinement and began

supervision. Inasmuch as the offender has satisfied or complied with all conditions and is no longer in need of

supervision, it is accordingly recommended that be discharged from supervised release.



                                                               Respectfully submitted,




                                                               U. S. Probation Officer



                                             ORDER OF THE COURT

          Pursuant to the above report, it is ordered that the defendantbe discharged from Supervised Release and that

the proceedings in the case he terminated.



          Dated this   /sS2^-day of                  I/S~&T              ,2005




                                                               J. Phil lbert
                                                               ~ n i t e h t a t e District
                                                                                   s        Judge
